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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                                                     )
    WILLIAM JAMES GRIFFIN, et al.,                   )
                                                     )
                            Plaintiffs,
                                                     )
              v.                                     )
                                                     )
                                                     )    Case No. 0:20- cv-62371-AHS
    BENEFYTT TECHNOLOGIES, INC.,
    et al.,                                          )
                                                     )
                            Defendants.              )
                                                     )
                                                     )
                                                     )
                                                     )
                                                     )
                                                     )



                             PLAINTIFFS’ AMENDED COMPLAINT

         1.        Defendants Benefytt Technologies, Inc. (formerly known as Health Insurance

  Innovations, Inc.), Health Plan Intermediaries Holdings, Inc. (collectively “HII”) and Assurance

  IQ, LLC (collectively, “HII” or “Defendants”) have unscrupulously targeted and exploited vul-

  nerable consumers searching for comprehensive medical insurance. While Defendants marketed

  their policies as comprehensive medical insurance, the policies were instead limited benefit non-

  ACA compliant health plans that were marketed along with largely bogus add-on

  products like discount cards, association memberships and accidental health insurance to make

  them seem more comprehensive than they were in reality. The policies left patients with little or

  no insurance for comprehensive care, excluding coverage for preexisting conditions and pre-

  scription drugs and imposing very low dollar limits on other services.

         2.        As the FTC noted in its action against one of HII’s co- conspirators Simple

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  Health, “Deceived consumers are effectively left uninsured and subjected to nearly unlimited fi-

  nancial exposure.” FTC v. Simple Health Plans, LLC, Memorandum in Support of Plaintiff’s Mo-

  tion for Ex Parte Temporary Restraining Order at 1. From the beginning of the scheme, the ac-

  tions of Defendants and their co-conspirators were unconscionable and detrimental. Now, in the

  midst of a pandemic, Plaintiffs and Class Members who thought they had purchased comprehen-

  sive medical insurance, will not have plans that cover their treatment should they become infect-

  ed. Accordingly, the harm to Plaintiffs and Class Members is potentially catastrophic and possibly

  even fatal.

  3.         Even prior to the current pandemic, the FTC had brought an action against Simple

  Health calling the practices at issue here a “classic bait-and- switch scheme.” FTC v. Simple

  Health Plans, LLC, Memorandum in Support of Plaintiff’s Motion for Ex Parte Temporary Re-

  straining Order at 2. In granting the FTC’s motion for preliminary injunction on May 14, 2019,

  the Court concluded, “Though consumers believed they were purchasing comprehensive health

  insurance coverage, [Simple Health] sold them practically worthless limited indemnity or dis-

  count plans.” However, HII’s conspiracy and scheme includes third parties other than Simple

  Health including Assurance IQ, Inc., (“Assurance”) and Nationwide Health Advisors (“Nation-

  wide”).

            4.     Plaintiffs, who are among the victims of Defendants’ uniform scheme, bring this

  action pursuant to the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C.

  §§ 1961, et seq., on behalf of themselves and a class of similarly situated consumers seeking re-

  dress for the illegal acts of the Defendants which have resulted in a loss of their property, and for

  declaratory and injunctive relief to prevent further losses.

                                   JURISDICTION AND VENUE

            5.     This Court has jurisdiction over the subject matter of this action pursuant to 18

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  U.S.C. §§ 1961, 1962, 1964 and 28 U.S.C. §§ 1331 and 1367. The Court has personal jurisdic-

  tion over the Defendants pursuant to 18 U.S.C. §§ 1965(b) and (d) because the Defendants trans-

  act business in this District.

          6.        Venue is proper in this district pursuant to 18 U.S.C. § 1965(a) and 28 U.S.C. §

  1391(b) because Defendants transact business in this District, and because a significant part of

  the events, acts and omissions giving rise to this action occurred in the District.

                                               PARTIES

  Plaintiffs:

          7.        Plaintiff William James Griffin is an adult resident of Blount County, Alabama.

  Mr. Griffin purchased an American Financial Security Life Insurance Company limited benefits

  hospital indemnity product which Defendants called their Health Choice + Plan and member-

  ships with the “National Congress of Employers,” the “Med-Sense Guaranteed Association,”

  PEP (an “online health and wellness program”), ScripPal (a pharmacy discount card), RxHelp-

  line (purporting to be “a prescription savings program”), and Teladoc. Defendants also included

  a “voluntary accident insurance” policy from Federal Insurance Company. Plaintiff Griffin did

  not receive a comprehensive medical plan as represented. Upon

  information and belief, Mr. Griffin’s “benefits package” was marketed through Simple Health.

          8.        Plaintiff Ashley Lawley is a resident of Jefferson County, Alabama. Rather than

  a comprehensive medical plan, Defendants sold Ms. Lawley a short term health insurance prod-

  uct entitled Advant Health STM from American Financial packaged together with other products

  and discount clubs, including memberships with the “National Congress of Employers,” “The

  Alliance for Consumers USA, Inc.,” the “Med-Sense Guaranteed Association,” PEP (an “online

  health and wellness program”), ScripPal (a pharmacy discount card), RxHelpline (purporting to

  be “a prescription savings program”), and Teladoc. Defendants also sold her Group Critical Con-
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  dition Insurance from Federal Insurance Company. Upon information and belief, Ms. Lawley’s

  “benefits package” was marketed through Simple Health.

             9.      Plaintiff Sandra Wilson is a resident of Tuscaloosa County, Alabama. Rather

  than a comprehensive medical plan, Defendants sold Mrs. Wilson a limited benefit health insur-

  ance a produce entitled HealthChoice Plus from American Financial Security Life Insurance Co.

  She did not receive a comprehensive medical plan as represented. Upon information and belief,

  Mrs. Wilson’s “benefits package” was marketed through Defendant Assurance.

             10.     Plaintiff William “Jeff” Cooper is a resident of Jefferson County, Alabama. Ra-

  ther than selling him comprehensive medical insurance, defendants sold him a short term health

  insurance product called Assurance IQ sold through defendant Assurance IQ and issued by

  Lifeshield National Insurance Company, combined with other products, including Teledoc, and

  discount programs and associations called MedSense, Real Value Savings, and Heighten Care.

  These programs purported to provide discounts relating to prescription drugs, dental care, and

  fitness.

             11.     Vickie Needham is an adult resident of Baldwin County who sought to buy-

  comprehensive health insurance. Rather than selling her comprehensive health insurance, the de-

  fendants sold her an AdvantHealth STM short term health insurance plan issued by American

  Financial Security Life Insurance Company along with Teledoc, RX Helpline and similar junk

  add-ons. Defendants:

  12.         Defendant Benefytt Technologies, Inc. (“BTI”), formerly known as Health Insurance In-

  novations, Inc., is a Delaware corporation with its corporate headquarters located in Tampa, Flor-

  ida. Health Insurance Innovations, Inc.’s common stock was traded under the ticker symbol

  “HIIQ.” HIIQ was a holding company whose only material asset is ownership of a 100% eco-

  nomic interest in Defendant Health Plan Intermediaries Holdings, Inc. (“HPIH”), in which HIIQ
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  was the sole member. In addition, HIIQ had 100% of the voting rights and control over HPIH.

  Following regulatory attention and a subsequent stock price drop, on March 6, HIIQ announced

  that it had been officially renamed Benefytt Technologies, Inc. with the ticker symbol “BFYT.”

  Going forward, however, the re-named company will continue to offer “health insurance and

  supplemental products” utilizing “private e-commerce health insurance marketplaces, consumer

  engagement platforms, agency technology systems, and insurance policy administration plat-

  forms.” March 6, 2020 Press Release found at www.investor.benefytt.com.

         13.       Defendant Health Plan Intermediaries Holdings Inc. (“HPIH”) is a Delaware lim-

  ited liability company based in Tampa, Florida.

             14.   BTI and HPIH are jointly referred to herein as “HII.”

         15.       Defendant Assurance IQ, LLC is a Washington limited liability company with

  its principal place of business in Bellevue, Washington. According to its website, launched in

  2016 in Bellevue, Wash., Assurance was founded to improve the “personal and financial health

  of every consumer” and make “their life better.” The company purportedly uses advanced data

  analytics to enable an extensive network of live agents to offer customized solutions for more

  people across a broader socio-economic spectrum. On October 10, 2019, Assurance was pur-

  chased by Prudential, Inc. for $2.35 billion. Assurance IQ LLC is formerly known as Assurance

  IQ, Inc.

  Co-Conspirators Not Named as Defendants:

         16.       Simple Health Plans LLC, Health Benefits One LLC, Health Center Manage-

  ment LLC, Innovative Customer Care LLC (a Florida limited liability company with its principal

  place of business in Hollywood, Florida), Simple Insurance Leads LLC, and Senior Benefits One

  (collectively, “Simple Health”) are all Florida limited liability companies with their principal

  place in Hollywood, Florida (Referred to in this complaint as “Simple Health.”) Simple Health
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  advertised, marketed distributed, or sold limited benefit plans and medical discount memberships

  to consumers throughout the United States on HII’s behalf. Products sold by Simple Health in-

  cluded Principle Advantage, Legion Limited Medical, Unified Health One, Health Choice, Ad-

  vant Health STM and Protector 360. These products were underwritten by companies such as

  Companion Life Insurance, Axis Insurance Co., Unified Life Ins. Co., American Financial Secu-

  rity Life Ins. Co. and Humana Insurance Company.

          17.       Donisi Jax, Inc. d/b/a Nationwide Health (“Nationwide”) is a Florida corporation

  headquartered in Pompano Beach, Florida. Upon information and belief, Nationwide marketed

  and sold the Cardinal Choice limited benefit indemnity product for Defendants.

          18.       Assurance, Simple Health and Nationwide were not the only distributors includ-

  ed in HII’s scheme, enterprise and conspiracy. However, discovery will be necessary to identify

  the other entities

                                    FACTUAL ALLEGATIONS

  HII and HII’s Distribution Network:

          19.       HII develops, markets, distributes, collects premiums on, and services short term

  limited duration insurance plans and hospital indemnity plans. In 2015, HII described its opera-

  tions this way:

          We are an industry leader in the sale of short-term medical (“STM”) insurance
          plans, which provide up to six, eleven or twelve months of health insurance cov-
          erage with a wide range of deductible and copay levels. STM plans generally of-
          fer qualifying individuals comparable benefits for fixed short-term durations with
          premiums that are substantially less than the premiums of individual major medi-
          cal (“IMM”) plans which offer lifetime renewable coverage. STM plans feature a
          streamlined underwriting process offering immediate coverage options.

          Our sales of STM products are supplemented with additional production offer-
          ings. In addition to STM plans, we offer guaranteed- issue and underwritten hos-
          pital indemnity plans for individuals under the age of 65, which pay fixed cash
          benefits for covered procedures and services and a variety of ancillary products
          such as pharmacy benefit cards, dental plans, vision plans, cancer/critical illness
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         plans, and life insurance policies that are frequently purchased as supplements to
         STM and hospital indemnity plans. We also offer supplemental deductible and
         gap protection plans for consumers whose IMM plans may not cover certain med-
         ical expenses until high deductibles are met.

         We design and structure these products on behalf of insurance carriers and market
         them to individuals through our internal and external distribution network. We
         manage member relations via our onlinemember portal, which is available 24
         hours a day, seven days a week. Our online enrollment process allows us to ag-
         gregate and analyze consumer data and purchasing habits to track market trends
         and drive product innovation.


         20.      HII came into existence with the passage of the Patient Affordable Care Act

  (hereinafter “ACA” or “Obamacare”). HII sought to take advantage of a loophole in the ACA to

  market its products to consumers searching for comprehensive health care coverage like that of-

  fered pursuant to the ACA.

         21.      HII explained:

         We believe ongoing changes in the health insurance industry have expanded and
         reshaped our target market and that changes will continue.
                                                  ***
         We believe that the implementation of Healthcare Reform has increased the num-
         ber of Americans in the individual health insurance market.
                                                  ***
         Unlike IMM plans, our STM products are exempt from the minimum MLR
         thresholds, “must-carry” pre-existing conditions requirements, and ten mandatory
         Essential Health Benefits under Healthcare Reform, allowing us to offer more at-
         tractive commission rates to our distributors while providing products with average
         premiums significantly lower than unsubsidized PPACA health plans.
                                                  ***
         We intend to aggressively pursue opportunities to help consumers identify our
         STM products as the right choice for healthcare coverage, and we believe our
         technology platform, product focus and industry expertise will allow us to gain an
         increasing share of this growing market.

         22.      HII’s health insurance plans are not comprehensive health insurance plans and

  do not comply with the ACA. The advantages of ACA- compliant policies include coverage of

  preexisting conditions as well “essential health benefits,” including emergency medical care,

  hospitalization, prescription medication, preventative care, mental health benefits, maternity
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  care, and pediatric care.

         23.       Unlike comprehensive health insurance plans, HII’s health insurance plans do

  not cover pre-existing conditions, do not have networks of healthcare providers that have agreed

  to their price schedules, do not provide mental health benefits, maternity benefits, or other essen-

  tial health benefits. However, they DO contain restrictive limits on both individual benefits and

  the total amount of benefits provided. These characteristics combine to leave insureds and their

  family members owing catastrophic health benefits at a time when they are most vulnerable.

         24.       As noted in HII’s 2015 10-K, HII also “offer[s] a variety of additional insurance

  and non-insurance products such as pharmacy benefit cards, dental plans, vision plans, can-

  cer/critical illness plans, deductible and gap protection plans and life insurance policies that are

  frequently purchases as supplements to the” insurance plans.

         25.       These supplemental products provide little if any medical benefits. However,

  HII packages these products along with their limited benefit

  medical plans to make these plans appear more comprehensive and to generate additional profits.

         26.       While HII sells products other than health insurance plans, in 2018, approxi-

  mately 45% of HII’s revenue resulted from the sale of health benefit insurance and approximate-

  ly 27% resulted from the sale of discount plans and AD&D insurance plans.

         27.       What HII failed to disclose in its regulatory filings is that HII also developed a

  scheme to market its limited benefit and very limited value indemnity plans and association

  memberships as comprehensive health insurance in order to exact inflated prices and convince

  consumers that they were buying traditional health insurance.

         28.       In order to implement this scheme, beginning in 2013, HII recruited and con-

  spired with distributors including Assurance, Simple Health, Nationwide, and others to market

  these limited benefit non-ACA compliant insurance policies, discount cards, association mem-
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  berships and accidental health insurance as comprehensive health insurance. Assurance, Simple

  Health and Nationwide solicited sales, took applications, issued coverage and collected the initial

  premiums through an internet portal.

         29.       HII provides Assurance, Simple Health and Nationwide “training, audit and oth-

  er support, and monitoring.” HII 2018 10-K at 7.

         30.       HII also “make[s] advance commission payments…in order to assist them with

  the cost of lead acquisition and provide working capital.” HII 2018 10-K at 18, 47.

         31.       HII “collects premium equivalents upon the initial sale of the plan and then

  monthly upon each subsequent periodic payment under such plan,” primarily “through online

  credit care or ACH processing.” HII 2018 10-K at 63. HII then remits payments to Simple Health,

  Nationwide, and Assurance. Id.

         32.       Following sale of a plan, HII also provides customer support that HII refers to as

  “member management.” HII 2018 10-K at 75. Member management includes “billing, collection,

  and member support… processing enrollment forms for the member's insurance or discount bene-

  fit plan, verifying eligibility for coverage, providing fulfillment documents to members, member

  support calls, and other support activities.” Id.

         33.       In addition, HII uses an internet platform that it owns, MyBenefitsKeeper, to act

  as the consumer facing portal for completion of applications, collection of premiums, issuance of

  electronic versions of insurance cards, and links to policy documents. Defendants direct consum-

  ers to access MyBenefitsKeeper online and send out e-mail communications purporting to come

  from MyBenefitsKeeper and providing links to the online portal.

         34.       The relationship between HII, Assurance, Simple Health and Nationwide was

  not arms-length but instead constituted an enterprise formed for the mutual benefit of all parties

  and at the expense of defrauded consumers. For example, HII participated in, directed, and fos-
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   tered the enterprise and the mail and wire fraud in at least the following ways:

                  (a)    developing the products at the heart of the scheme;

                  (b)    developing the network and recruiting Assurance, Simple Health

   and Nationwide;

                  (c)    entering into an exclusive agreement in 2013 with Assurance, Simple

   Health for the promotion of HII products – primarily limited benefit indemnity plans, medical

   discount plans and AD&D insurance;

                  (d)    entering into a similar agreement with Nationwide in 2015;

                  (e)    paying Assurance, Simple Health and Nationwide very high commis-

   sions;

                  (f)    funding the operation of Assurance, Simple Health and Nationwide with

   advanced commissions which basically constituted multi-million dollar loans;

                  (g)    jointly creating misleading “lead generation” websites;

                  (h)    providing an online platform for Assurance, Simple Health and Nation-

   wide to quote and sale HII products;

                  (i)    recruiting and training Assurance, Simple Health and Nation-

   wide sales agents;

                  (j)    allowing Assurance, Simple Health and Nationwide agents to register

   their licenses through HII;

                  (k)    monitoring sales calls;

                  (l)    reviewing, editing, and approving fraudulent sales scripts;

                  (m) acting as third-party administrator, providing customer service after the
   sale including processing enrollment forms, verification of coverage, and providing documents


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   to consumers;

                   (n)   collecting premiums;

                   (o)   accounting for premiums and commissions and distributing commis-

   sions to Assurance, Simple Health and Nationwide; and

                   (p)   fielding consumer complaints.

          35.            In fact, when regulatory agencies began investigating Simple Health, HII

   even paid Simple Health’s legal costs.

          36.       From 2014 through October 2018, HII paid almost 200 million dollars in com-

   missions to Simple Health.

          37.       Prior to October 2018, Simple Health was HII’s largest distributor. Nationwide

   and Assurance remain significant distributors of HII products.

   The Fraudulent Scheme:

          38.       Defendants and their co-conspirators have engaged in a scheme to target con-

   sumers seeking comprehensive health insurance.

          39.       Sales agents marketed HII products as comparable coverage at lower prices,

   leading consumers to believe they were receiving comprehensive health insurance. What con-

   sumers received, however, were limited benefit non- ACA compliant indemnity insurance, dis-

   count memberships and accidental health insurance.

          40.       The scheme involved numerous representations regarding the products being of-

   fered and omitted material facts regarding the limitations of those products.

          41.       HII not only knew about the representations and omissions but was complicit

   and instrumental in the fraudulent scheme.

          42.       HII “regularly provide[s] health insurance plan information in the scripts used

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   by out independent third-party distributors.” HII 2018 10-K at 17. As HII admits, “The infor-

   mation we provide on our platform, through our independent third-party distributors, and other-

   wise may be construed as not accurate or misleading.” Id. HII also concedes that HII has “re-

   ceived complaints that the information we provided was not accurate or was misleading.” Id.

          43.       As the FTC explained, consumers were (1) “enticed by…misleading search en-

   gine and lead generation websites,” (2) “subjected to a deceptive telemarketing pitch,” and (3)

   “run through a sham verification process.” FTC v. Simple Health Plans, LLC, Plaintiffs’ Reply

   Memorandum in Support of a Preliminary Injunction at 4.

          44.       HII, Assurance, Simple Health, and Nationwide “utilize keyword search, primari-

   ly paid keyword search listings on various online search engines and other forms of internet ad-

   vertising, to drive internet traffic to the lead aggregator’s website.” HII 2018 10-K at 9.

          45.       Defendants’ deceptive search engine advertisements included keywords such as

   “Obamacare,” “AARP,” and “BlueCross Blue Shield.”

          46.       The deceptive lead-generation websites, utilized by HII, Assurance, Simple

   Health, and Nationwide contained numerous misrepresentations and omissions. The websites

   typically claimed to provide information about obtaining comprehensive health insurance, includ-

   ing insurance available through the marketplaces established pursuant to the ACA, including ad-

   dresses such as “Obamacare-healthquotes.com.”

          47.       The websites suggested the products were affiliated with established carriers

   such as Blue Cross, Aetna, and Cigna and with associations such as the American Association of

   Retired Person and included the Better Business

   Bureau logo. Neither the products nor the companies had any such affiliations or endorsements.

          48.       Consumers could contact an agent by calling a toll-free number displayed on the

   website.
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          49.          The websites also suggested that consumers who provided their contact infor-

   mation would receive multiple quotes for comprehensive insurance coverage.

          50.          Consumers who submitted their contact information to one of the lead generation

   websites subsequently received a call from a sales agent.

          51.          The call centers utilized uniform and deceptive scripts to assure consumers they

   were only being offered comprehensive, ACA-compliant health care plans.

          52.                As the FTC stated, the script “is deceptive on its face.” FTC v.

   Simple Health Plans, LLC, Memorandum in Support of Plaintiff’s Motion for Ex Parte Tempo-

   rary Restraining Order at 12. Moreover, as the FTC concluded, “The intent of the scripts is un-

   mistakable – to leave consumers with the impression that they were purchasing comprehensive

   health insurance or its equivalent.” FTC v. Simple Health Plans, LLC, Plaintiffs’ Reply Memo-

   randum in Support of a Preliminary Injunction at 7.

          53.          The FTC noted that sales agents were required to strictly adhere to the script or

   risk termination.

          54.          The sales scripts began with a “Fear of God” section which was intended to cre-

   ate a sense of urgency and fear regarding whether they would qualify for the insurance being of-

   fered. The script referred to helping find “an affordable health insurance quote.” The sales agents

   would claim to search from “MAJOR ‘A rated’ CARRIERS” to find the “BEST PLAN out there

   for the BEST PRICE.” The telemarketer would warn that it was possible the consumer would not

   qualify for any plans. However, despite placing the consumer on hold while allegedly searching

   for comprehensive health coverage, the telemarketer did not conduct any searches but instead of-

   fered only a limited indemnity plan and other non-insurance products.

          55.          The script next directed the telemarketer to refer to the products being offered

   using phrases such as “health insurance plan,” “medical insurance package,” and “PPO.” But the
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   plans were neither comprehensive nor PPO’s. The telemarketer also misleadingly talked about the

   coverage being offered using phrases such as “prescription drug plan,” “doctor office visits,” “di-

   agnostic testing,” and “hospital coverage.” The scripts also stated that coverage would not be de-

   nied as a result of pre-existing conditions but would pay immediately. Yet, the plans contained a

   one-year pre-existing condition exclusion.

           56.     Pursuant to the script, consumers were also told they could use their insurance to

   see almost any doctor in the country or to use any facility. This was not true. The plans, of

   course, were not comprehensive medical insurance.

           57.     The scripts represented that consumers would pay very little, if anything, for

   healthcare and prescriptions. However, the plans, at most, paid only very limited benefits leaving

   the consumer to pay the overwhelming majority of the costs of healthcare.

           58.     HII’s limited benefit and short-term plans are not comprehensive health insur-

   ance, are not ACA-compliant and do not provide the benefits promised in the telemarketer’s

   sales pitch.

           59.     Not only did the scripts contain knowingly false information, they failed to dis-

   close material facts including, inter alia, the following: (1) the products were not comprehensive

   health insurance but were instead limited benefit plans and medical discount memberships; (2)

   the products did not comply with the ACA and, accordingly, consumers would be subject to the

   ACA penalty; (3) that, at most, the limited benefits plans provided only extremely limited reim-

   bursements leaving the consumer responsible for the remainder of the cost; and (4) that the pre-

   scription drug plan was simply a savings card.

           60.     Assurance and Simple Health used Defendants’ web-based payment platform to

   process payments from consumers.

           61.     After securing the sale, the telemarketer explained the consumer would next par-
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   ticipate in a verification process. Prior to the verification process, the telemarketer would warn

   consumers not to ask questions and to disregard any statements that contradicted the telemarket-

   ers’ statements. The telemarketer falsely explained that the process used a single script but that

   many of the parts would not apply to the consumer specifically, including statements that the

   consumer was not buying comprehensive insurance: “Now, they also will tell you that this is not

   a major medical plan or a discount plan. Obviously this isn’t a discount plan. This is insurance.”

          62.      Pursuant to the script, the telemarketers also warned consumers to ignore the

   statements about pre-existing conditions not being covered, assuring consumers that they had

   immediate coverage.

          63.      The telemarketers suggested that if the consumer asked questions, the process

   would have to be repeated from the beginning.

          64.      Simple Health then utilized a sham “verification” process, utilizing standardized

   scripts, and turning off the recording should the consumer ask any questions so the misrepresenta-

   tions could be repeated without creating any evidence.

          65.      Nationwide used a similar script and process and similarly represented that con-

   sumers were receiving comprehensive medical insurance.

   Nationwide similarly failed to disclose material facts. Nationwide also used Defendants’ web-

   based payment platform to process payments from consumers.

          66.      Assurance, Simple Health and Nationwide, at HII’s direction, represented them-

   selves as being committed to acting in Plaintiffs’ and Class Members’ interest and encouraged

   consumers to rely on their purported knowledge, independence, and unbiased expertise in procur-

   ing insurance coverage. Assurance, Simple Health and Nationwide acted as common law fiduci-

   aries and, accordingly, owed Plaintiffs and Class Members a duty of full and fair disclosure and

   complete candor with regard to the products offered and a duty of loyalty to act in their best in-

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   terests.

              67.   The fraudulent scheme was undertaken with the specific intent of inducing con-

   sumers to purchase Defendants’ near-worthless products, believing they were purchasing com-

   prehensive, ADA-compliant health insurance.

              68.   Plaintiffs and class members did, in fact, rely on Defendants’ misrepresentations

   and omissions in purchasing the products and in making payments. Absent Defendants’ standard-

   ized misrepresentations and omissions that the products being offered were comprehensive,

   ADA-compliant health insurance, no Plaintiff or Class Members would have agreed to buy De-

   fendants’ valueless products. Given the uniform representations and omissions and the negligible

   benefits of the products, reliance can be demonstrated utilizing circumstantial evidence.

   Plaintiffs Were Victims of the Scheme:

              69.   Jim Griffin purchased what he believed to be comprehensive medical insurance

   coverage from Defendants.

              70.   On or about November 1, 2018, Mr. Griffin searched online for health insurance.

              71.         His search results led him to a website similar to this one:




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          72.      After entering information onto the website, Mr. Griffin received a phone call

   from Defendants’ agents who walked him through a script similar to that described above. He

   told them that he needed comprehensive health coverage.

          73.      Defendants’ agent assured him they were selling him a plan that would pay 80%

   of his medical expenses and would pay defined benefits on top of that. They also informed him

   that it was major medical coverage that would cover doctor’s bills, hospital costs, prescription

   drugs and similar costs.

          74.      In agreeing to purchase the insurance and in continuing to pay the monthly pre-

   miums, Mr. Griffin relied on this representation that he was obtaining comprehensive medical in-

   surance.

          75.      Mr. Griffin’s monthly charges were $689.16, which Defendants electronically

   debited from Mr. Griffin’s checking account.

          76.      On May 27, 2019, Mr. Griffin suffered a heart attack that required a stent and

   four days of hospitalization. Only after this medical emergency did Mr. Griffin learn the true

   benefits of the product he purchased and found that he owed $150,000 in medical expenses not

   covered. The plan did not provide a network or PPO in which medical providers agreed to accept

   plan charges as full payment for medical services. Rather, Mr. Griffin was charged full retail

   rates. In addition, the plan did not pay eighty percent of the amount he was charged.

          77.      Rather than a comprehensive medical plan, Defendants had sold Mr. Griffin an

   American Financial Security Life Insurance Company limited benefits product which they called

   their Health Choice + Plan and memberships with the “National Congress of Employers,” the

   “Med-Sense Guaranteed Association,”

   PEP (an “online health and wellness program”), ScripPal (a pharmacy discount card), RxHelp-

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   line (purporting to be “a prescription savings program”), and Teladoc. They also included a “vol-

   untary accident insurance” policy from Federal Insurance Company.

          78.         Defendants did not pay Mr. Griffin’s medical expenses as represented. Even af-

   ter Defendants’ refusal to pay Mr. Griffin’s medical expenses as represented, they continued to

   debit his bank account for payments despite his repeated requests to cancel the insurance and to

   cease debiting his account.

          79.         Plaintiff Ashely Lawley also believed she purchased comprehensive medical in-

   surance coverage from Defendants. In June of 2018 Ms. Lawley searched online for health insur-

   ance and was contacted by an agent of HII. Based on the representations of HII’s agent, Ms.

   Lawley believed she was purchasing comprehensive health insurance and purchased a policy at

   this time

   80.         In late October 2018, Ms. Lawley saw her chiropractor and was referred to a surgeon to

   discuss removal of a suspicious lump on her neck. She immediately called “Justin,” an HII agent,

   to confirm that the appointment and procedure would be covered. Justin informed her that she

   would need to purchase a “Major Medical” plan and that the lump would not be considered a

   pre-existing condition. He explained that the plan was comprehensive and would cover eighty

   percent of her charges for doctor visits, hospital stays, surgeries, and other medical services.

          81.         Ms. Lawley agreed to purchase the insurance and paid the monthly premiums in

   reliance on the representations that she was obtaining comprehensive health insurance.

          82.         Defendants charged Ms. Lawley a monthly premium of $273.45, drafted elec-

   tronically from her checking account.

          83.         Following her initial visit with the surgeon, she again confirmed with “Justin”

   that the procedure would be covered and that she would only need to pay a $500 copay.

          84.         Ms. Lawley scheduled surgery to remove a mass on her neck on November 13,
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   2018. Ms. Lawley paid a co-pay and after more discussions with Justin was told by her doctor’s

   office that the surgery had been pre-approved.

          85.        Following the medical procedure, Ms. Lawley learned the true benefits of the

   product.

   86.        For months, she received form after form repeatedly saying that no benefits were being

   paid. Nearly a year later she was left with $20,000 in uncovered medical expenses. Unlike com-

   prehensive health insurance, there was no network arrangement with any medical provider lim-

   iting the amount of fees that could be charged by the medical providers. As a result, Mrs. Law-

   ley was charged full retail charges for her care.

          87.        In addition, the plan did not pay eighty percent of the outstanding charges. Rather

   than a comprehensive medical plan, Defendants had sold Ms. Lawley was a short term health in-

   surance product entitled Advant Health STM from American Financial packaged together with

   other products and discount clubs, including memberships with the “National Congress of Em-

   ployers,” “The Alliance for Consumers USA, Inc.,” the “Med-Sense Guaranteed Association,”

   PEP (an “online health and wellness program”), ScripPal (a pharmacy discount card), RxHelp-

   line (purporting to be “a prescription savings program”), and Teladoc. Defendants also sold her

   Group Critical Condition Insurance from Federal Insurance Company.

          88.        Defendants did not pay Ms. Lawley’s medical expenses as represented.

          89.        On March 14, 2019, William Cooper applied for a policy through HII.

          90.        As with Griffin and Lawley, HII’s agent, using the phone, represented himself as

   being with MyBenefitsKeeper. On information and belief, he was employed by co-conspirator

   Assurant. He represented that the plan involved a network and a PPO and would cover eighty

   percent of Mr. Cooper’s medical and

   dental expenses, and that he had a $2000 out of pocket maximum. He also represented that Mr.
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   Cooper’s providers were in-network. He sold Mr. Cooper an Assurance IQ Premium plan involv-

   ing a short-term care policy from Lifeshield Insurance.

          91.      During the conversation, the agent e-mailed a link to Mr. Cooper to his application

   on MyBenefitsKeeper. After the application was completed, HII charged Mr. Cooper $250.54 by

   debiting his Visa card and MyBenefitsKeeper then sent a link to a payment receipt and to ac-

   count documents by e-mail.

          92.      During the policy period, Mr. Cooper’s son broke his arm and required surgery.

   As with Griffin and Lawley, the insurer did not have a network agreement with any providers

   and Mr. Cooper was charged full retail price for the care. In addition, the plan did not pay eighty

   percent of the billed medical charges and Mr. Cooper was left owing over $50,000!

          93.      Vickie Needham also believed that she purchased comprehensive health care

   coverage from the defendants. On June 12, 2019, Vickie Needham was seeking comprehensive

   health insurance covering herself and her husband. Specifically asked whether her husband’s

   physicians were covered by the plan. She was told that her plan would pay for eighty percent of

   her medical care and that her husband’s doctors were “in network.”

          94.      She purchased an Advant Health Plan which included a short- term health insur-

   ance policy underwritten by American Financial Security Life Insurance Company. Her plan

   purported to include Teladoc telephone medical consultations, Association Dues, an RX Help-

   line, and Health Education program online health education and fitness training. She was charged

   additional amounts for these items and her total payment was $485.25 a month.

          95.      As with the others, she applied through an online application through MyBene-

   fitsKeeper and was e-mailed documents purporting to come from MyBenefitsKeeper. She also

   received membership cards through the mail from MyBenefitsKeeper.

          96.      During the policy period, Ms. Needham’s husband underwent back surgery and
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   then treatment for cancer. He ultimately lost his battle with cancer. Contrary to HII’s agent’s rep-

   resentation, his providers were not part of any network and the providers charged full retail

   charges for all care, ultimately accumulating over $250,000 in unpaid medical charges. The poli-

   cy did not pay 80% of these charges.

          97.       Plaintiff Sandra Wilson likewise believed she had purchased comprehensive

   health insurance from Defendants. In August of 2018, Ms. Wilson searched online for health in-

   surance and was contacted by Harmon

   Burkhart of Assurance IQ, LLC. Based on Mr. Burkhart’s representations, Ms. Wilson believed

   she was purchasing comprehensive health insurance.

          98.       Ms. Wilson agreed to purchase the insurance and has paid the monthly premiums

   in reliance on the representations that she was obtaining comprehensive health insurance.

            99.     Defendants charged Ms. Wilson a monthly premium of $172.81

            100. Following a couple of physician visits and a hospitalization, Ms. Wilson learned
   the true benefits of the product and found that she had substantial dollars which she could not pay

   in uncovered medical expenses. Rather than a comprehensive medical plan, Defendants had sold

   Ms. Wilson a limited benefit health insurance product. The uncovered medical expenses forced

   Ms. Wilson into bankruptcy. In total, she paid over $2,000 in premiums. Other than one claim,

   the policy never paid on any claims.

          101.      Plaintiffs and Class Members were injured by Defendants’ fraudulent scheme

   and predicate acts. First, Plaintiffs and Class Members purchased insurance and paid fees and

   premiums they would not have paid absent Defendants’ misrepresentations and omissions. Sec-

   ond, Plaintiffs and members of the Subclass were injured because they incurred unreimbursed

   medical expenses that would have been covered by comprehensive medical insurance.

                                          RICO ALLEGATIONS
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          102.      Plaintiffs, the class members and Defendants are "persons" within the meaning

   of 18 U.S.C. § 1961(3).

          103.      Based upon Plaintiffs’ current knowledge, the following persons constitute a

   group of individuals associated in fact that Plaintiffs refer to as the “HII Marketing and Sales En-

   terprise”: (1) Defendants; (2) Assurance; (3) Simple Health;

   (4) Nationwide; and (5) other third-party distributors.

           104.     Whether Defendants have replaced Simple Health within the enterprise and

   whether the enterprise constitutes an ongoing organization, perpetuating the fraudulent scheme is

   unknown. Nationwide has clearly taken on a more significant role within Defendants’ marketing

   and distribution network since the FTC concluded its action against Simple Health. Also, De-

   fendants continue to collect premiums resulting from the fraudulent scheme. Regardless, the HII

   Marketing and Sales Enterprise was a functioning organization for more than five years. The en-

   terprise engaged in, and its activities affected, interstate commerce with fraudulent products being

   marketed and sold throughout the country as well as fees and premiums being collected from

   consumers throughout the country.

           105.     While the Defendants participate in and are members and part of the HII Market-

   ing and Sales Enterprise, and are a part of it, they also have an existence separate and distinct

   from the enterprise.

          106.      Defendants needed a distribution and marketing system in order to market and

   sell their limited benefit indemnity plans at enormously inflated prices. The HII Marketing and

   Sales Enterprise provided this means. Defendants’ control of and participation in the enterprise is

   necessary for the successful operation of their scheme. Defendants control and operate the enter-

   prise in at least the following ways:

                   (a)    developing the products at the heart of the scheme;
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              (b)   developing the network and recruiting Assurance, Simple Health

                     and Nationwide;

              (c)   entering into an exclusive agreement in 2013 with Simple Health for

                     the promotion of HII products – primarily limited benefit indemnity

                     plans, medical discount plans and AD&D insurance;

              (d)   entering into a similar agreement with Nationwide in 2015;

              (e)   paying Assurance, Simple Health and Nationwide very high commis-

                     sions;

              (f)   funding the operation of Assurance, Simple Health and Nation-

                     wide with advanced commissions which basically constituted

                     multi-million dollar loans;

              (g)   jointly creating misleading “lead generation” websites;

              (h)   providing an online platform for Assurance, Simple Health and Nation-

                     wide to quote and sale HII products;

              (i)   recruiting and training Assurance, Simple Health and Nation-

                     wide sales agents;

              (j)   allowing Assurance, Simple Health and Nationwide agents to register

                     their licenses through HII;

              (k)   monitoring sales calls;

              (l)   reviewing, editing, and approving fraudulent sales scripts;

              (m) acting as third party administrator, providing customer service after the
                     sale including processing enrollment forms, verification of coverage,

                     and providing documents to consumers;

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                     (n)   collecting premiums;

                     (o)   accounting for premiums and commissions and distributing commis-

                           sions to Assurance, Simple Health and Nationwide;

                     (p)   fielding consumer complaints; and

                     (q)   paying Simple Health’s legal costs stemming from regulatory investiga-

                           tions.

                                          PREDICATE ACTS

           107.       Section 1961(1) of RICO provides that “racketeering activity” includes any act

   indictable under 18 U.S.C. § 1341 (relating to mail fraud) and 18

   U.S.C. § 1343 (relating to wire fraud). As set forth below, Defendants have engaged, and continue

   to engage, in conduct violating each of these laws to effectuate their scheme.

           108.       In addition, in order to make their scheme effective, each of the Defendants

   sought to and did aid and abet the others’ in violating the above laws within the meaning of 18

   U.S.C. § 2. As a result, their conduct is indictable under 18 U.S.C. §§ 1341 and 1343, on this ad-

   ditional basis.

                                Violations of 18 U.S.C. §§ 1341 and 1343

           109.       For the purpose of executing and/or attempting to execute the above described

   scheme to defraud or obtain money by means of false pretenses, representations or promises, De-

   fendants, in violation of 18 U.S.C. § 1341, placed and caused to be placed in post offices and/or

   in authorized repositories matter and things to be sent or delivered by the Postal Service, caused

   matters and things to be delivered by commercial interstate carrier, and received matter and

   things from the Postal Service or commercial interstate carriers, including but not limited to

   membership cards and other confirmatory materials sent by Defendants to Plaintiffs

   and class members. These materials were, in fact, mailed to and received by the class representa-
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   tives and class members.

          110.     For the purpose of executing and/or attempting to execute the above described

   scheme to defraud or obtain money by means of false pretenses, representations or promises, De-

   fendants, also in violation of 18 U.S.C. § 1343, transmitted and received by wire or caused to be

   transmitted and received by wire, matter and things which include but are not limited to the mis-

   representations and omissions on websites and during sales pitches over the phone described pre-

   viously. Wire transmissions were also used for the collection of information from the consumer

   and for the collection of fees and premiums, including through the use of the MyBenefitsKeeper

   platform.

          111.     The misrepresentations, acts of concealment and failures to disclose of Defend-

   ants, Assurance, Simple Health and Nationwide were knowing and intentional, and made for the

   purpose of deceiving Plaintiffs and the class and obtaining their property for Defendants’ gain.

   112.     Defendants were not only aware of the fraudulent scheme but were instrumental to the

   functioning of the scheme. Defendants recruited Simple Health and Nationwide and developed

   the network through which the products were fraudulently marketed; funding the operation of As-

   surance, Simple Health and Nationwide, jointly creating misleading “lead generation” web-

   sites, creating the platform through which Assurance, Simple Health and Nationwide quoted

   and sold HII products, recruiting and training Assurance, Simple Health and Nationwide sales

   agents, monitoring sales calls, reviewing, editing, and approving fraudulent sales scrips, acting as

   the third party administrator for products sold by Assurance, Simple Health and Nationwide, field-

   ing thousands of consumer complaints and even covering Simple Health’s legal expenses for

   regulatory actions.

          113.     Defendants either knew or recklessly disregarded the fact that the misrepresenta-

   tions and omissions described above were material, and Plaintiffs and the class relied on the mis-

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   representations and omissions as set forth above.

          114.     As a result, Defendants have obtained money and property belonging to the

   Plaintiffs and class members, and Plaintiffs and the class have been injured in their business or

   property by Defendants’ overt acts of mail and wire fraud, and by their aiding and abetting each

   other’s acts of mail and wire fraud.

                           PATTERN OF RACKETEERING ACTIVITY

          115.     Defendants have engaged in a “pattern of racketeering activity,” as defined by

   18 U.S.C. § 1961(5), by committing or aiding and abetting in the commission of at least two acts

   of racketeering activity, i.e., indictable violations of 18 U.S.C. §§ 1341 and 1343 as described

   above, within the past ten years. In fact, HII has committed, caused to be committed or aided and

   abetted in the commission of thousands of acts of racketeering activity.

          116.     For example, responding to consumer complaints, forty-three state departments

   of insurance began investigating Health Insurance Innovations and one of its insurance partners,

   HCC Life Insurance Company in 2016. Ultimately, it reached a settlement with the regulators in

   December 2018 in which it promised to exercise greater supervision over its brokers to prevent

   misrepresentations and develop a plan to ensure that consumers were fully aware of policy details

   when they purchased insurance.

          117.     In October 2018, the FTC filed suit against Simple Health Plans, LLC. The FCC

   investigation relied on thousands of pages of documents, extensive witness interviews, and call

   recordings. The United States District Court for the Southern District of Florida granted a tempo-

   rary restraining order on October 31, 2018 and a permanent injunction on May 14, 2019, freezing

   Simple Health Plan’s assets, appointing a receiver, and enjoining it from selling policies. The

   pleadings demonstrated a massive scheme by Simple Health, on behalf of HII, to lure customers

   into believing they were purchasing comprehensive health insurance.

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          118.      In 2019, the State of Montana announced that 3,645 Montana residents who had

   been misled by HII were eligible for restitution payments.

          119.      In March 2019, the U.S. House of Representatives, Committee on Energy and

   Commerce launched a probe into the sale of short-term health insurance plans, including those of-

   fered by HII. After an investigation of over a year,

   the Committee released its report in June of this year, entitled “Shortchanged: How the Trump

   Administration’s Expansion of Junk Short-Term Health Insurance Plans is Putting Americans at

   Risk,” which concluded that “HII, its subsidiary companies, and the third-party agents and bro-

   kers that HII is in a contractual relationship with defraud and deliberately mislead consumers

   seeking comprehensive health coverage, leaving them saddled with hundreds of thousands of

   dollars of medical debt.”

          120.      In reaching its findings, the committee noted that it had reviewed thousands of

   complaints made directly to HII and hundreds of complaints made to the Better Business Bureau.

   These complaints stretched from 2014 to 2018.

          121.      With regard to Simple Health’s operations, the committee found “it highly im-

   plausible that HII was unaware of [the] scheme, as the Company attempted to present to the

   Committee, and concludes that HII was abetting or willfully ignorant of Simple Health…in its

   operation of defrauding vulnerable Americans.

          122.      In addition, as described above, HII and its co-conspirators used the same meth-

   ods as described in the FTC action and congressional investigation to defraud Griffin, Lawley,

   Cooper, and Needham.

          123.      As Cooper and Needham show, this pattern of racketeering activity has contin-

   ued since Simple Health was shut down.

          124.      Each act of racketeering activity was related, had a similar purpose, involved the
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   same or similar participants and method of commission, had similar results and impacted similar

   victims, including Individual Plaintiffs and class members.

           125.      The multiple acts of racketeering activity which HII committed and/or conspired

   to or aided and abetted in the commission of, were related to each other and amount to and pose

   a threat of continued racketeering activity, and therefore constitute a “pattern of racketeering ac-

   tivity” as defined in 18 U.S.C. § 1961(5).

                                           RICO VIOLATIONS

                                                 § 1962(C)

           126.      Section 1962(c) of RICO provides that it “shall be unlawful for any person em-

   ployed by or associated with any enterprise engaged in, or the activities of which affect, inter-

   state or foreign commerce, to conduct or participate, directly or indirectly, in the conduct of such

   enterprise’s affairs through a pattern of racketeering activity …”

           127.      Through the patterns of racketeering activities outlined above, the Defendants

   have also conducted and participated in the affairs of the HII Marketing and Sales Enterprise.

                                                 § 1962(D)

           128.      Section 1962(d) of RICO makes it unlawful “for any person to conspire to vio-

   late any of the provisions of subsection (a), (b) or (c), of this section.”

           129.      Defendants’ conspiracy to falsely obtain money from Plaintiffs and class mem-

   bers for their own use through the fraudulent scheme described above violates 18 U.S.C.

   §1962(d).

           130.      Each of the Defendants agreed to participate, directly or indirectly, in the con-

   duct of the affairs of the HII Marketing and Sales Enterprise through a pattern of racketeering ac-

   tivity comprised of numerous acts of mail fraud and wire fraud, and each Defendant so partici-

   pated in violation of 18 U.S.C. § 1962(c).

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                                  CLASS ACTION ALLEGATIONS

          131.      Plaintiffs bring this action on their own behalf and, pursuant to Rule 23(b)(3) as

   a class action on behalf of a nationwide class of persons defined as:

          All persons who, from May 5, 2016, to the date of certification purchased a health
          insurance plan from Defendants through Assurance, Simple Health or Nationwide.

   (the “Class”).

          132.      Plaintiffs also bring this action on behalf of a nationwide subclass of persons de-

   fined as:

          All persons who, from May 5, 2016, to the date of certification purchased a health
          insurance plan from Defendants through Assurance,




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           Simple Health or Nationwide and incurred a medical expense that was not cov-
           ered because the product was not a comprehensive health insurance plan.

   (the “Medical Expense Subclass”)

                                                RULE 23(A)
                                               TYPICALITY

           133.     Plaintiffs and the members of the Class and the Subclass all have tangible and le-

   gally protectable interests at stake in this action.

           134.     The claims of the named class representatives and the absent class members

   have a common origin and share a common basis. Their claims originate from the same illegal,

   fraudulent, conspiratorial, and aiding and abetting practices of Defendants, and Defendants act in

   the same way toward Plaintiffs and the members of the class. As such, each Plaintiff has been the

   victim of Defendants’ illegal practices because each has purchased one of Defendants’ limited

   benefit indemnity policies.

           135.     Plaintiffs state claims for which relief can be granted that are typical of the

   claims of absent Class members and Subclass members. If brought and prosecuted individually,

   the claims of each class member would necessarily require proof of the same material and sub-

   stantive facts, rely upon same remedial theories, and seek the same relief.

           136.           The claims and remedial theories pursued by the named class representa-

   tives are sufficiently aligned with the interests of absent class members to ensure that the universal

   claims of the Class and the Subclass will be prosecuted with diligence and care by Plaintiffs as

   representatives of the class.

                                              NUMEROSITY

           137.     The members of the Class are so numerous that joinder of all members is im-

   practicable. According to the FTC, just Simple Health’s involvement in the scheme “left tens of

   thousands of consumers who thought they had purchased comprehensive health insurance with-
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   out such coverage.” FTC v. Simple Health Plans, LLC, Complaint at ¶ 20. The Class is, however,

   ascertainable as the names and addresses of all class members can be identified in business rec-

   ords maintained by the Defendants.

                                           COMMONALITY

  138.                    The questions of law and fact common to the class include, inter

   alia:

                  (a)    whether Defendants participated in conspired with regard to or aided and

                          abetted a fraudulent scheme;

                  (b)    whether Defendants engaged in mail and wire fraud;

                  (c)    whether Defendants engaged in a pattern of racketeering

   activity;
                  (d)    whether the HII Marketing and Sales Enterprise constitutes an enterprise

   within the meaning of 18 U.S.C. § 1961 (4).

                  (e)      whether Defendants conducted or participated in the affairs of an en-

   terprise through a pattern of racketeering activity in violation of 18 U.S.C. § 1962(c).

                  (f)      whether Defendants acts in violation of 18 U.S.C. § 1962 proximately

   caused injury to Plaintiffs and Class Members’ business or property.

                                 ADEQUATE REPRESENTATION

           139.     Plaintiffs are willing and prepared to serve the Court and proposed class in a rep-

   resentative capacity with all of the obligations and duties material thereto. Plaintiffs will fairly

   and adequately protect the interests of the class and have no interests adverse to, or which directly

   and irrevocably conflict with, the interests of other members of the class.

           140.     The self-interests of the named class representatives are co- extensive with and

   not antagonistic to those of the absent class members. The proposed representatives will under-

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   take to well and truly protect the interests of the absent class members.

   141.     Plaintiffs have engaged the services of counsel indicated below. Said counsel are expe-

   rienced in complex class litigation, will adequately prosecute this action, and will assert, protect

   and otherwise well represent the named class representatives and absent class members.

                                             RULE 23(B)(2)

          142.      The Defendants have acted or refused to act on grounds generally applicable to the

   class, making final declaratory or injunctive relief appropriate.

                                           RULE 23(B)(3)(2)

          143.      The questions of law and fact common to members of the class predominate

   over any questions affecting only individual members.

          144.      A class action is superior to other available methods for the fair and efficient ad-

   judication of the controversies herein in that individual claims by the class members are impracti-

   cal as the costs of pursuit far exceed what any one Plaintiff or class member has at stake.

                                                COUNT I

                             VIOLATION OF RICO 18 U.S.C. § 1962 (c)

          145.      This claim for relief arises under 18 U.S.C. § 1964(c).

          146.      Defendants have conducted or participated in the conducting the HII Marketing

   and Sales Enterprise through a pattern of racketeering activity.

          147.      As a direct and proximate result, Plaintiffs and Class Members have been in-

   jured in their business or property by the predicate acts constituting the pattern of racketeering ac-

   tivity. Specifically, Plaintiffs and Class Members have been injured in their business or property

   by paying fees and premiums they would not have paid absent Defendants’ illegal conduct. Plain-

   tiffs and Subclass Members have also been injured in their business or property because they in-

   curred unreimbursed medical expenses that would have been covered by comprehensive medical
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   insurance.

          148.      Accordingly, Defendants are liable to Plaintiffs and Class Members for three

   times their actual damages as proven at trial, plus interest and attorneys’ fees

                                               COUNT II

                       VIOLATION OF RICO 18 U.S.C. § 1962(D) BY CON-
                          SPIRING TO VIOLATE 18 U.S.C. § 1962 (C)

          149.      This claim for relief arises under 18 U.S.C. § 1964(c).

          150.      In violation of 18 U.S.C. § 1962(d), Defendants have, as set forth above, con-

   spired to violate 18 U.S.C. § 1962(c) by conducting, or participating directly or indirectly in the

   conduct of, the affairs of the HII Marketing and Sales Enterprise through a pattern of racketeer-

   ing.

          151.      As a direct and proximate result, Plaintiffs and class members have been injured

   in their business or property by the predicate acts which make up the Defendants’ patterns of

   racketeering.

          152.      Specifically, Plaintiffs and Class Members have been injured in their business or

   property by paying fees and premiums they would not have paid

   absent Defendants’ illegal conduct. Plaintiffs and Subclass Members have also been injured in

   their business or property because they incurred unreimbursed medical expenses that would have

   been covered by comprehensive medical insurance.

          153.      Accordingly, Defendants are liable to Plaintiffs and Class Members for three

   times their actual damages as proven at trial, plus interest and attorneys’ fees.




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                                               COUNT III

                         VIOLATION OF 18 U.S.C. § 2 BY
          SEEKING TO AND AIDING AND ABETTING IN THE VIOLATION OF 18
                               U.S.C. § 1962 (C)

          154.            This claim for relief arises under 18 U.S.C. § 1964(c).

          155.      As set forth above, Defendants knowingly, and with shared intent, sought to, and

   have, aided and abetted Assurance, Simple Health and Nationwide in the commission of predi-

   cate acts, in engaging in a pattern of racketeering activity, and in violation 18 U.S.C. § 1962(c).

          156.      Under 18 U.S.C. § 2, the RICO violations of Assurance, Simple Health and Na-

   tionwide are the violations of the Defendants as if they had been committed directly by them.

          157.      As a direct and proximate result of Defendants aiding and abetting Assurance,

   Simple Health and Nationwide, Plaintiffs and class members

   have been injured in their business or property by the predicate acts which make up the Defend-

   ants’ patterns of racketeering.

          158.      Specifically, Plaintiffs and Class Members have been injured in their business or

   property by paying fees and premiums they would not have paid absent Defendants’ illegal con-

   duct. Plaintiffs and Subclass Members have also been injured in their business or property be-

   cause they incurred unreimbursed medical expenses that would have been covered by compre-

   hensive medical insurance.

          159.      Accordingly, Defendants are liable to Plaintiffs and Class Members for three

   times their actual damages as proven at trial, plus interest and attorneys’ fees.

                                               COUNT IV

                             DECLARATORY AND INJUNCTIVE RE-
                                LIEF UNDER 18 U.S.C. § 1964(A)

          160.      This claim arises under 18 U.S.C. § 1964(a), which authorizes the district courts

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   to enjoin violations of 18 U.S.C. § 1962, and under 28 U.S.C. § 2201 which authorizes associat-

   ed declaratory relief.

           161.       As set forth in Counts I and II above, Defendants have violated 18 U.S.C. §§

   1962(c) and (d), and will continue to do so in the future.

           162.       Enjoining Defendants from committing these RICO violations in the future

   and/or declaring their invalidity is appropriate as Plaintiffs and Class

   Members have no adequate remedy at law, and will, as set forth above, suffer irreparable harm in the

   absence of the Court’s declaratory and injunctive relief.

                                         PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs pray for the following relief:

           (a)        Certification of the Class and Subclass pursuant to Rule 23 of the Federal

   Rules of Civil Procedure, certifying Plaintiffs as the representatives of the Classes, and desig-

   nating their counsel as counsel for the Classes;

           (b)       A declaration that Defendants have committed the violations alleged herein;

           (c)       Treble the amount of damages suffered by Plaintiffs and members of the Class

   and Subclass as proven at trial plus interest and attorneys’ fees and expenses;

           (d)       An injunction preventing Defendants from engaging in future fraudu-

   lent practices;

           (e)       Costs of this action, including reasonable attorneys’ fees and expenses;

   and

           (f)       Any such other and further relief as this Court deems just and proper,

                                             JURY DEMAND

           Plaintiffs demand a trial by jury on all issues so triable.


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 Dated: February 16, 2020

 JOHNSTONE CARROLL, LLC                    WHATLEY KALLAS, LLP

 /s/ F. Inge Johnstone                     /s/ Charles Nicholas Dorman
 F. INGE JOHNSTONE MAT-                    CHARLES NICHOLAS DORMAN
 THEW F. CARROLL 2204                      JOE R. WHATLEY JR.
 Lakeshore Drive Suite 303                 W. TUCKER BROWN
 Homewood, AL 35209                        2001 Park Place North
 Telephone: (205) 383-1809                 1000 Park Place Tower
 Facsimile: (888) 759-3882                 P.O. Box 10968 Birmingham,
 Email: ijohnstone@johnstonecarroll.com    AL 35203 Telephone: (205)
                                           488-1200 Facsimile: (800) 922-
                                           4851
                                           E-mail: ndorman@whatleykallas.com
                                                   jwhatley@whatleykallas.com
                                                    tbrown@whatleykallas.com
 J. Dennis Gallups                         Patrick J. Sheehan
 PO Box 381894                             101 Federal Street, 19th Floor
 Birmingham, AL 35283                      Boston, MA 02110
                                           Telephone: (617) 573-5118
                                           Facsimile: (617) 371-2950
                                           Email: psheehan@whatleykallas.com



                                           Attorneys for Plaintiffs




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                                     CERTIFICATE OF SERVICE

           I hereby certify that a copy of the above and foregoing has been electronically filed on
   August 17, 2020, with the Clerk of the Court using the CM/ ECF system which will send notifi-
   cation of such filing to the following counsel of record:

   Harlan I. Prater IV
   Wesley B. Gilchrist
   LIGHTFOOT, FRANKLIN & WHITE LLC
   400 20th St. North Bir-
   mingham, AL 35203
   (205) 581-0700
   hprater@lightfootlaw.com
   wgilchrist@lightfootlaw.com

   David L. Balser* Zachary
   A. McEntyre* Timothy H.
   Lee* KING & SPAL-
   DING LLP
   1180 Peachtree Street, NE Suite
   1600
   Atlanta, GA 30309
   (404) 572-4600
   dbalser@kslaw.com
   zmcentyre@kslaw.com
   tlee@kslaw.com
   *admitted pro hac vice

   Assurance IQ, LLC
   c/o CT Corporation System 2
   North Jackson, STE 605
   Montgomery, AL 36104




                                                               /s/ F. Inge Johnstone
                                                                Of Counsel
